Case 1:05-cv-01063-.]DT-STA Document 7 Filed 05/03/05 Page 1 of 2 _Page|D 1

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

AT JACKSON
TENNESSEE VALLEY AUTHORITY )
Plaintiff, §
v. § Civil Action No. 1-05-1063-T
MB VALUATION SERVICES, INC. §
Defendant. §

ORDER TO ALLOW H. BUCKLEY COLE TO APPEAR PRO HAC VICE
MB Valuation Services, Inc.(“MBV”), Plaintiff, by and through its attorneys, having filed
its Motion to Allow H. Buckley Cole to Appear Pro Hac Vice and this Court having considered
said motion, finding it to be well taken,
IT IS THEREFORE ORDERED that H. Buckley Cole be admitted into the Western

District of Tennessee and that he may appear pro hac vice in the above-captioned matter.

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` b . QvM

U ed States District Judge
Submitted for Entry,

 

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Thle document entered on the docket eheettn compliance
with Rule 58 and.'or,?B (a) FRCP on

 

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This notice confirms a copy of the document docketed as number 7 in
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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

